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FILE'D F.$"r" __ _ ,v__ U.C.
IN THE UNITED STATES DISTRICT COUR'I`
E`OR THE WESTERN DIS'I‘RICT OE` TENNESSEE 05 111{1;' 3| p§% 62 56

WESTERN DIVIS ION

 

 

CARLOS L. RIcE,
Petitioner,

vs. No. 05-2376~D/V

DAVID MILLS,

Respondent.

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ORDER DENYING LEAVE TO PROCEED l§ FORMA PAUPERIS
AND
ORDER DIRECTING PETITIONER TO PAY THE HABEAS FILING FEE

 

Petitioner Carlos L. Rice, Tennessee Department of
Correction prisoner number 259965, an inmate at the West Tennessee
State Penitentiary (“WTSP”) in Henning, Tennessee, filed a pro §§
petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2254
on May 19, 2005, along with a motion seeking leave to proceed in
forma pauperis. Based on the information set forth in the
petitioner’s affidavit, the motion to proceed in forma pauperis is
DENIED. The petitioner is ORDERED to pay the five dollar ($5.00)
habeas filing fee within thirty (30) days of the date of entry of

this order. Failure to timely comply with this order will result in

Thfs document entered on the docket sheet |n compliance
with sure 58 and/or re(a) FHCP on 0 32 1315

 

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dismissal of the petition without prejudice, pursuant to Fed. R.
Civ. P. 4l(b), for failure to prosecute.

IT IS SO ORDERED this 34 day of May, 2005.

RNICE B. ONALD
UNITED STATES DISTRICT JUDGE

DCISTRIT COURT - ESTENR ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 4 in
case 2:05-CV-02376 Was distributed by faX, mail, or direct printing on
June 2, 2005 tc the parties listed.

 

 

Carlcs L. Rice

WEST TENNESSEE STATE PENITENTIARY
259965

P.O. BOX l 150

Henning, TN 38041

Honcrable Bernice Donald
US DISTRICT COURT

